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3    Attorney for Defendant Sartaj Chahal
4

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6                                IN THE UNITED STATES DISTRICT COURT
7                          FOR THE EASTERN DISTRICT OF CALIFORNIA
8
                                                      )   Case No.: 2:09-cr-00125-FCD
9    UNITED STATES OF AMERICA,                        )
                                                      )   STIPULATION AND ORDER TO
10                  Plaintiff,                        )   CONTINUE JUDGMENT AND
                                                      )   SENTENCING
11          vs.                                       )
                                                      )   Date:    August 8th, 2011
12
     SARTAJ CHAHAL,                                   )   Time:    10:00 a.m.
                                                      )   Judge:   Hon. Frank C. Damrell, Jr.
13             Defendants.                            )
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16          IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the Judgment
17   and Sentencing scheduled for May 23rd, 2011 at 10:00 a.m. is continued to August 8th, 2011 at
18   10:00 a.m. in the same courtroom. Jason Hitt, Assistant United States Attorney and Thomas A.
19   Johnson, Defendant’s attorney, are requesting such continuance in order to review of discovery
20   and preparation of counsel. The Defendant has just switched counsel and Mr. Johnson needs
21   time to review the case.
22          It is further stipulated that the period from the date of this stipulation through and
23   including August 8th, 2011, be excluded in computing the time within which trial must
24   commence under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv) and Local T4
25   (reasonable time for preparation of counsel).
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27   IT IS SO STIPULATED.
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                                      STIPULATION AND ORDER           -1-
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     DATED: May 11th, 2011                     By:    /s/ Thomas A. Johnson_____
1                                                     THOMAS A. JOHNSON
                                                      Attorney for Defendant
2                                                     SARTAJ CHAHAL
3

4    DATED: May 11th, 2011                            BENJAMIN WAGNER
                                                      United States Attorney
5
                                                By:    /s/ Thomas Johnson for___ __
6                                                     JASON HITT
                                                      Assistant U.S. Attorney
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     IT IS SO ORDERED.
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11   Dated: May 11th, 2011                   _______________________________________
                                             FRANK C. DAMRELL, JR.
12                                           UNITED STATES DISTRICT JUDGE
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                             STIPULATION AND ORDER      -2-
